              CaseCase
                  3:17-cv-01362-JCH
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MANDATE
                                                                                               D. Conn.
                                                                                             17-cv-1362
                                                                                                 Hall, J.


                             United States Court of Appeals
                                                  FOR THE
                                           SECOND CIRCUIT
                                           _________________

                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 16th day of May, two thousand nineteen.

     Present:
                    John M. Walker, Jr.,
                    José A. Cabranes,
                    Peter W. Hall,
                          Circuit Judges.

     L. “Lee” Whitnum,                                                          19-48 (L),
                                                                                19-49 (Con),
                                   Plaintiff-Appellant,                         19-50 (Con),
                                                                                19-51 (Con),
                    v.                                                          19-52 (Con),
                                                                                19-53 (Con),
     Town of Woodbridge, et al.,                                                19-54 (Con),
                                                                                19-229 (Con)
                                   Defendants-Appellees.


     Appellees, through counsel, move to dismiss these consolidated appeals. Appellant, pro se,
     moves for leave to proceed in forma pauperis. This Court has determined that it lacks jurisdiction
     over the consolidated appeals because a final order has not been issued by the district court as
     contemplated by 28 U.S.C. § 1291. See Petrello v. White, 533 F.3d 110, 113 (2d Cir. 2008).
     Upon due consideration, it is hereby ORDERED that Appellees’ motion is GRANTED and the
     consolidated appeals are DISMISSED. It is further ORDERED that Appellant’s motion is
     DENIED as moot.
                                                 FOR THE COURT:
                                                 Catherine O’Hagan Wolfe, Clerk of Court




MANDATE ISSUED ON 06/06/2019
